
9 N.Y.2d 788 (1961)
Douglas E. Mathewson et al., Appellants,
v.
New York State Thruway Authority, Respondent.
Court of Appeals of the State of New York.
Argued March 1, 1961.
Decided April 27, 1961.
Timothy J. Mahoney for appellants.
Louis J. Lefkowitz, Attorney-General (Julius L. Sackman and Paxton Blair of counsel), for respondent.
Concur: Chief Judge DESMOND and Judges DYE, FULD, FROESSEL, VAN VOORHIS, BURKE and FOSTER.
Judgment affirmed, without costs, upon the authority of Benz v. New York State Thruway Auth. (9 N Y 2d 486), decided herewith. No opinion.
